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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

NCS PEARSON, INC.,                                Case No. 1:21-cv-10773

                        Plaintiff,                NOTICE OF MOTION TO ADMIT
                                                  COUNSEL PRO HAC VICE
          v.

SAVVAS LEARNING COMPANY LLC,

                        Defendant.


          Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, I, Stephen Hall, hereby move this Court for an Order for admission

to practice pro hac vice to appear as counsel for Plaintiff NCS Pearson, Inc. in the above-captioned

matter.

          I am a member in good standing of the Bar of the Commonwealth of Massachusetts. There

are no pending disciplinary proceedings against me in any state or federal court. I have never been

convicted of a felony. I have never been censured, suspended, disbarred or denied admission or

readmission by any court. I have attached an affidavit and Certificate of Good Standing from the

Supreme Judicial Court of Massachusetts pursuant to Local Rule 1.3.


Dated: December 16, 2021                          Respectfully submitted,

                                                  /s/ Stephen Hall
                                                  Stephen Hall
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                                                  Attorney for Plaintiff NCS Pearson, Inc.
